ee

103

A, It's actuaily -- at least one time is
Part of the response to Joanne Livingston Le her
whole Laundry iist. I would Say it was around
April of 1999,

a. Take a look at subparagraph "dd". It
&@lleges that Vicki refused to permit vou and the

Terfys to participate in the Management of the

company.
i. That's right.
Q. What time are we talking about?
A. From about late February i999 going
forward.

a. After May of 1999, did the business
centinue to operate? Kids fount.

AY Define "operate." Apparently, if you
iéve a royally agreement and was paid royalties
-hat continue to exist and have cash flow.

a. Did it continue to manufacture, produce
and sell children's products?

Ay I have no idea, We asked for
information and were never provided any.

Of course, I saw that our preducts that
were owned by that company were sald on a web

Site, 80 I hope there was money coming in,

CAROL RABER & ASSOCIATES (312) 446-6926

Ua: 0426

C2 :CePM

EOS one

O3 :05EM

